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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )            CASE NO. 8:09CR81
                                            )
                      Plaintiff,            )
                                            )              MEMORANDUM
       vs.                                  )               AND ORDER
                                            )
KENNY DOFNER,                               )
                                            )
                      Defendant.            )

       This matter is before the Court on the Defendant’s Motion for Notice of Appeal denial

of 2255 (f)(3) And (f)(4) and permission to proceed in Forma pauperis (Filing No. 319) and

the Clerk's memorandum regarding in forma pauperis status (Filing No. 320).The Defendant

appeals from this Court’s Memorandum and Order (Filing No. 317) denying his Motion Under

28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody

(“§ 2255 motion"). The defendant also requests “an evidentiary hearing on these merits or

a certificate of appealability on this issue.”

       Before the Defendant may appeal the denial of his § 2255 motion, a “Certificate of

Appealability” must issue. Pursuant to the Antiterrorism and Effective Death Penalty Act of

1996, Pub. L. No. 104-132, 110 Stat. 1214 (“AEDPA”), the right to appeal the denial of a §

2255 motion is governed by the certificate of appealability requirements of 28 U.S.C. §

2253(c). 28 U.S.C. § 2253(c)(2) provides that a certificate of appealability may issue only if

the applicant has made a substantial showing of the denial of a constitutional right:

       (c)(1) Unless a circuit justice or judge issues a certificate of appealability, an
       appeal may not be taken to the court of appeals from–
                                               ....

              (B) the final order in a proceeding under section 2255.

       (2) A certificate of appealability may issue under paragraph (1) only if the
       applicant has made a substantial showing of the denial of a constitutional right.
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       (3) The certificate of appealability under paragraph (1) shall indicate which
       specific issue or issues satisfy the showing required by paragraph (2).

28 U.S.C. § 2253(c).

       A “substantial showing of the denial of a constitutional right” requires a demonstration

“that reasonable jurists could debate whether (or, for that matter, agree that) the petition should

have been resolved in a different manner or that the issues presented were ‘”adequate to

deserve encouragement to proceed further.”’“ Slack v. McDaniel, 529 U.S. 473, 484 (2000)

(quoting Barefoot v. Estelle, 463 U.S. 880, 893 & n.4 (1983)).

       The issues raised in the § 2255 motion were carefully considered. For the reasons set

forth in the Court’s previously issued Memorandum and Order (Filing No. 317) denying the

Defendant’s § 2255 motion, the Court concludes that the Defendant has not made a

substantial showing of the denial of a constitutional right as required by 28 U.S.C. § 2253(c).

       IT IS ORDERED:

       1.      The Defendant's request for an evidentiary hear or certificate of appealability

               is denied;

       2.      The Defendant is not allowed to proceed in forma pauperis; and

       3.      The Clerk is directed to mail a copy of this Order to the Defendant at his last

               known address.

       DATED this 25th day of November, 2013.

                                             BY THE COURT


                                             s/Laurie Smith Camp
                                             Chief United States District Judge




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